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 7 Attorneys for Plaintiffs Elon Musk,
   Shivon Zilis, and X.AI Corp.
 8
 9                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
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11
      ELON MUSK, et al.,                             Case No. 4:24-cv-04722-YGR
12
                       Plaintiffs,                   Hon. Yvonne Gonzalez Rogers
13
          v.                                         DECLARATION OF MARC
14                                                   TOBEROFF IN SUPPORT OF
15    SAMUEL ALTMAN, et al.,                         PLAINTIFFS’ RESPONSE TO THE
                                                     STATEMENT OF INTEREST OF THE
16                     Defendants.                   UNITED STATES AND FEDERAL
                                                     TRADE COMMISSION
17
                                                     Date:    February 4, 2025
18                                                   Time:    2:00 p.m.
19                                                   Place:   Courtroom 1 (4th Fl.)
                                                              1301 Clay St.
20                                                            Oakland, CA 94612

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29                                                                  CASE NO. 4:24-CV-04722-YGR
                                                                        TOBEROFF DECLARATION
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 1                                         DECLARATION

 2          I, Marc Toberoff, declare as follows:

 3          1.     I am a member of the bar of the State of California and a principal of the law

 4 firm Toberoff & Associates, P.C., counsel of record for Plaintiffs Elon Musk, Shivon Zilis, and
 5 X.AI Corp. (“Plaintiffs”). I submit this Declaration in Support of Plaintiffs’ Response to the
 6 Statement of Interest of the United States and Federal Trade Commission. Except where
 7 otherwise stated, I have personal knowledge of the facts set forth herein and, if called as a
 8 witness, could and would so testify.
 9          2.     Attached hereto as Exhibit 1 is a true and correct copy of the press release

10 titled FTC Issues Staff Report on AI Partnerships & Investments Study dated January 17,
11 2025, and available at https://www.ftc.gov/news-events/news/press-releases/2025/01/ftc-
12 issues-staff-report-ai-partnerships-investments-study.
13          3.     Attached hereto as Exhibit 2 is a true and correct copy of the January 2025

14 Federal Trade Commission report titled Partnerships Between Cloud Service Providers and AI
15 Developers: FTC Staff Report on AI Partnerships & Investments 6(b) Study, appended to
16 which are the partial concurrence and partial dissent of Commissioners Ferguson and
17 Holyoak.
18          4.     I declare under penalty of perjury that the foregoing is true and correct.

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20          Executed on January 20, 2025, at Beverly Hills, California.

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22                                                  /s/ Marc Toberoff
                                                       Marc Toberoff
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29                                                  1                   CASE NO. 4:24-CV-04722-YGR
                                                                            TOBEROFF DECLARATION
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